         Case 2:13-cr-02092-LRS              ECF No. 899                filed 12/11/13              PageID.2186 Page 1 of 2
O PS 8
(5/04)


                                 UNITED STATES DISTRICT COURT
                                                                       for
                                              Eastern District of Washington


 U.S.A. vs.               Gonzalez, Nasario Antonio                                    Docket No.             0980 2:13CR02092-026


                                  Petition for Action on Conditions of Pretrial Release

         COMES NOW Jose Zepeda, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Nasario Antonio Gonzalez, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge James P. Hutton sitting in the court at Yakima, Washington, on the 18th day of September 2013, under
the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances,
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use
marijuana, regardless of whether or not the defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Mr. Gonzalez tested positive for marijuana on October 3, November 5, and 19, 2013.

Mr. Gonzalez submitted to random urinalysis testing on October 3, November 5, and 19, 2013. On December 4, 2013, the
U.S. Probation Office received a letter from Alere Toxicology Services regarding the interpretation of the urine samples
collected from Mr. Gonzalez. According to the toxicologist, Mr. Gonzalez reused marijuana prior to the specimens collected
on November 5, and 19, 2013.

                                PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                             Respectfully submitted,
                                                                                  by         s/Jose Zepeda
                                                                                             Jose Zepeda
                                                                                             U.S. Pretrial Services Officer
Sworn to before me, and subscribed


Date                     at N, Washington


Signature of Judicial Officer
         Case 2:13-cr-02092-LRS      ECF No. 899   filed 12/11/13   PageID.2187 Page 2 of 2
  PS-8
  Re: Gonzalez, Nasario
  December 11, 2013
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ 9]     The Issuance of a Summons
[ ]      Other


                                                               Signature of Judicial Officer

                                                               %FDFNCFS 
                                                               Date
